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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA
                                                      Criminal No. 19-219
                     v.

 MUSTAFA MOUSAB ALOWEMER

                                    JOINT STATUS REPORT

       AND NOW comes the United States of America, by its attorneys, Scott W. Brady, United

States Attorney for the Western District of Pennsylvania, and Soo C. Song, Assistant United States

Attorney for said district, and Mr. Mustafa Mousab Alowemer, by his attorney, Andrew Lipson,

Assistant Federal Public Defender, and hereby submits the following status report in response to

the Court’s Order of June 11, 2020, (Doc. No. 66). The parties have met and conferred and reached

an agreement regarding aspects of the case that may require additional time to resolve.

        On June 8, 2020, the defense moved for an additional 90-day extension of the time to file

pretrial motions, until September 7, 2020, citing COVID-19 as well as other unique aspects of the

case, including the need to translate Arabic speech and text, and the potential collateral

immigration consequences to the defendant. Doc. No. 63. The United States did not oppose the

Motion outright, but asserted that an open-ended continuance without “periodic, detailed

accounting of defense progress in the case” would not “fairly protect the interests of the public and

the defendant in a speedy trial.” Doc. No. 64.

        This Court entered an order on June 11, 2020, granting the defense motion, in part, and:

1) extending the pretrial motions deadline until July 23, 2020; 2) ordering that the parties “meet

and confer to develop a plan and timeline to prepare this case for trial or other timely disposition.”

Doc. No.’s 65, 66.
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         To assure that the case progresses towards trial or a negotiated resolution, the parties have

conferred and agreed to bi-weekly conferences.                   Defense counsel asserts that the need for

additional time is driven by the need to obtain an expert forensic evaluation of the defendant. This

cannot occur until defense counsel and/or the expert resume in-person visits with the defendant at

the jail where he is incarcerated. In addition, there are outstanding investigative, national security

matters of interest to the United States for which additional communications with defense counsel

and/or the defendant will be beneficial. Given the sensitive nature of these investigative issues,

in-person, secure communications between defense counsel and Mr. Alowemer are necessary. 1

          Given the above, the parties agree that, given the disruption occasioned by COVID-19,

additional time may be required to prepare the case for resolution. Should the Court agree, the

defense pretrial motions deadline could be extended to September 7, 2020, to allow for the

resolution of both the forensic evaluation and the outstanding investigative interests referenced

above. Both the United States and defense counsel on behalf of defendant Mustafa Mousab

Alowemer are willing to provide further detail or information to the Court should the Court seek

written or telephonic clarification.




1
 The United States did inquire about the viability of secure teleconference capability at the institution where the
defendant is being housed. At present, while they have teleconference access, it is not, according to the institution,
completely private.
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                                 Respectfully submitted,

                                 SCOTT W. BRADY
                                 United States Attorney



                        By:
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                              s/ Andrew Lipson
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